
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-153-CR



DWAYNE THOMAS SEERY		 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM THE 371
ST
 
DISTRICT 
COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the “Appellant’s Motion To Dismiss Appeal.” 
 The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See 
 
Tex. R. App. P.
 42.2(a), 43.2(f). 																PER CURIAM



PANEL D:	GARDNER, WALKER, and MCCOY, JJ.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: March 6, 2008							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




